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                                 REPORT FOLLOWING
                      VOLUNTARY FACILITATIVE MEDIATION SESSION

      Case Number                             Case Caption                      Date of Session
  1:23-cv-00944                 Anantha K. Sankey v. Western Michigan          5/20/2024
                                              University

 PARTIES                                      Attendees
                        Name                                        On Behalf Of
  Anantha Sankey                                    Plaintiff
  Keith Hahn                                        Defendant




 COUNSEL
                        Name                                        On Behalf Of
  Charissa Huang                                   Plaintiff
  David Porter                                     Defendant




 Result:          z     Case settled in full - Final paperwork will be filed: within 30 days
                        Mediation continuing - Date of Next Session
                        Not settled - Mediation Completed


Dated: May 28, 2024                                  By: /s/ Lee T. Silver
                                                          Lee T. Silver
                                                          Mediator



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